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 4
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 6
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 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
10
     ANNA OMELIN, Individually and as an      )
11   Administrator of the Estate of Anton Omelin,
                                              )
     deceased,                                )             Case No. 3:17-cv-05837
12                                            )
                            Plaintiff,        )             COMPLAINT FOR DAMAGES
13                                            )
     vs.                                      )             1) Strict Product Liability – Design
14                                            )             Defect; Failure to Warn;
                                              )             2) Negligence – Design, Sale,
15   HANSEN BEVERAGE COMPANY d/b/a            )             Manufacturing; Failure to Warn;
     MONSTER BEVERAGE CORPORATION, a )                      3) Fraud - Concealment,
16   Delaware Corporation, MONSTER ENERGY )                 Suppression or Omission of
     COMPANY, a Delaware Corporation, and RED )             Material Facts;
17   BULL NORTH AMERICA, INC., a Foreign      )             4) Breach of Implied Warranties;
     Corporation, and DOES 1 through 100,     )             and
18   Inclusive,                               )             5) Wrongful Death
                                              )
19                          Defendants.       )             JURY DEMAND
20
21          COMES NOW, Plaintiff ANNA OMELIN, Individually and as Administrator of

22   the Estate of ANTON OMELIN, deceased, by and through her attorney of record, Olga

23   Efimova, hereby files this complaint against Defendants, and respectfully alleges as
24
     follows:
25
26
27
                                               COSMOPOLITAN LEGAL, PLLC
     COMPLAINT FOR DAMAGES-       1            151 108th Ave NE, Unit 210
     Case No. 3:17-cv-05837                    Bellevue, WA 98004
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                           I. NATURE OF THE CASE AND PARTIES
 1
 2          1.      Plaintiff, ANNA OMELIN (hereinafter “Plaintiff”), brings the present

 3   survival and wrongful death action, pursuant to Revised Code of Washington (hereinafter
 4   “RCW”) 4.20.010-.020; 4.20.046 and 4.20.60, individually and on the behalf of the Estate
 5
     of ANTON OMELIN, deceased, for personal injuries suffered as a result of the Mr.
 6
     Omelin’s death on October 30, 2014.
 7
            2.      The heirs at law of the decedent under RCW 4.20.010-.020 and their
 8
 9   relationship to Mr. Omelin are as follows: 1) ANNA OMELIN, decedent’s spouse; 2) A.

10   S., decedent’s step-son, a minor; 3) A. O., decedent’s daughter, a minor; 4) A. O.,

11   decedent’s son, a minor. At all relevant times, Plaintiff and heirs resided, and continue to
12   reside, at 4219 69th Ave. E, Fife, WA 98424.
13
            3.      HANSEN BEVERAGE COMPANY d/b/a/ MONSTER BEVERAGE
14
     CORPORATION (hereinafter referred to as “MONSTER”), a defendant, is a Delaware
15
     corporation, with principle place of business at 550 Monica Circle, Suite 201, Corona,
16
17   California, 92880. At all relevant times, Defendant engaged in and was responsible for

18   design, manufacture, production, testing, study, inspection, mixture, labeling, marketing,

19   advertising, sales, promotion, and/or distribution of energy drinks, MONSTER ENERGY
20
     and NOS (hereinafter collectively referred to as “MONSTER BEVERAGES”).
21
     Defendant’s registered agent CSC – Lawyers Incorporating Service is located at 2710
22
     Gateway Oaks Drive, Suite 150N, Sacramento, California, 95833.
23
            4.      MONSTER ENERGY COMPANY (hereinafter referred to as
24
25   “MONSTER”), a defendant, is a Delaware corporation, with principle place of business at

26   550 Monica Circle, Suite 201, Corona, California, 92880. At all relevant times, Defendant
27
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     engaged in and was responsible for design, manufacture, production, testing, study,
 1
 2   inspection, mixture, labeling, marketing, advertising, sales, promotion, and/or distribution

 3   of energy drinks, MONSTER ENERGY and NOS (hereinafter collectively referred to as
 4   “MONSTER BEVERAGES”). Defendant’s registered agent CSC – Lawyers Incorporating
 5
     Service is located at 2710 Gateway Oaks Drive, Suite 150N, Sacramento, California,
 6
     95833.
 7
              5.    RED BULL NORTH AMERICA, INC. (hereinafter referred to as “RED
 8
 9   BULL”), a defendant, is a foreign profit corporation, with principle place of business at

10   1740 Steward Street, Santa Monica, California 90404, USA. At all relevant times,

11   Defendant engaged in and was responsible for design, manufacture, production, testing,
12   study, inspection, mixture, labeling, marketing, advertising, sales, promotion, and/or
13
     distribution of the energy drink, RED BULL (hereinafter referred to as “RED BULL
14
     ENERGY”). Defendant’s registered agent C T Corporation System is located at 711
15
     Capitol Way S, Ste. 204, Olympia, Washington 98501-1267.
16
17            6.    The true names and capacities, whether individual, corporate, associate,

18   governmental or otherwise, of Defendants DOES 1 through 100, inclusive, are unknown to

19   Plaintiff at this time, who therefore sues said Defendants by such fictitious names. When
20
     the true names and capacities of said Defendants have been ascertained, Plaintiff will
21
     amend this Complaint accordingly. Plaintiff is informed and believes, and thereon alleges,
22
     that each Defendant designated herein as a DOE is responsible, negligently or in some
23
     other actionable manner, for the events and happenings hereinafter referred to, and caused
24
25   injuries and damages proximately thereby to the Plaintiff, as hereinafter alleged.

26
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                                       II. JURISDICTION AND VENUE
 1
 2          7.      Plaintiff brings this complaint under federal diversity jurisdiction under 28

 3   U.S.C. 1332, as the parties are completely diverse in citizenship and the amount in
 4   controversy exceeds $75,000.00.
 5
            8.      Venue is proper in the Western District of Washington at Tacoma, under 28
 6
     U.S.C. 1391(b), where Mr. Omelin and survivors resided and the death occurred.
 7
                                       III. FACTUAL ALLEGATIONS
 8
 9          9.      In the early morning hours of October 30, 2014, Plaintiff found 25-year-old

10   Anton Omelin in the bathroom unresponsive. There was vomit on the floor as well as in

11   the bathroom sink. At the time medical personnel arrived at the scene, no life saving
12   measures were taken, as the Mr. Omelin’s death was obvious.
13
             10.    In a 24-hour period preceding his death, Mr. Omelin consumed at least four
14
     (4) 16-oz cans of NOS and Red Bull energy drinks. Prior to and since his marriage to the
15
     Plaintiff, in the year of 2010, Mr. Omelin regularly consumed at least four (4) 16-oz cans
16
17   of energy drinks per day, including MONSTER BEVERAGES and RED BULL ENERGY.

18          11.     Prior to his death, Mr. Omelin received the news that he will receive the

19   full-ownership of the family business once his parents-in-law retire. Mr. Omelin purchased
20
     fruits, chocolate and a bottle of Courvoisier cognac to celebrate with Plaintiff. Prior to
21
     going to bed he had two to three (2-3) shots of cognac, which he mixed with RED BULL
22
     ENERGY.
23
            12.     Mr. Omelin had no prior medical problems. He did not use illicit drugs and
24
25   drank in moderation. Mr. Omelin consumed large quantities (at least four (4) a day) of

26   energy drinks manufactured by the Defendants.
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            13.     A few days prior to his death, Mr. Omelin complained of headaches,
 1
 2   however, he did not seek medical help, as the headaches were manageable.

 3          14.     Mr. Omelin was the sole provider for his family. To stay awake to perform
 4   his work duties, Mr. Omelin consumed MONSTER BEVERAGES and RED BULL
 5
     ENERGY on daily basis. Mr. Omelin lacked in sleep averaging only four to five (4-5)
 6
     hours of sleep on weekdays and had insomnia on weekends.
 7
            15.     Prior to going to bed, Mr. Omelin had a habit of performing physical
 8
 9   exercises, which he did in the bathroom, so he would not wake his wife and children.

10          16.     Mr. Omelin was survived by his wife, Anna Omelin; his stepson, A.S., a

11   minor; his biological son, A.O., a minor; his biological daughter, A.O., a minor, who at the
12   time of Mr. Omelin’s death was six (6) weeks old.
13
            17.     At all relevant times, HANSEN BEVERAGE COMPANY d/b/a/
14
     MONSTER BEVERAGE CORPORATION was responsible for the design, manufacture,
15
     production, testing, study, inspection, mixture, labeling, marketing, advertising, sales,
16
17   promotion, and/or distribution of MONSTER BEVERAGES that Mr. Omelin ingested

18   prior to his death and from which he ultimately died.

19          18.     At all relevant times, MONSTER ENERGY COMPANY was responsible
20
     for the design, manufacture, production, testing, study, inspection, mixture, labeling,
21
     marketing, advertising, sales, promotion, and/or distribution of MONSTER BEVERAGES
22
     that Mr. Omelin ingested prior to his death and from which he ultimately died.
23
            19.     At all relevant times, RED BULL NORTH AMERICA, Inc. was
24
25   responsible for the design, manufacture, production, testing, study, inspection, mixture,

26
27
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     labeling, marketing, advertising, sales, promotion, and/or distribution of RED BULL
 1
 2   ENERGY that Mr. Omelin ingested prior to his death and from which he ultimately died.

 3          20.      HANSEN BEVERAGE COMPANY d/b/a MONSTER BEVERAGE
 4   CORPORATION, MONSTER ENERGY COMPANY and RED BULL NORTH
 5
     AMERICA, INC., (hereinafter referred to as “MONSTER and RED BULL”) target their
 6
     advertising campaign “primarily towards young males, with alluring product names.” Chad
 7
     J. Reissig, et.al., Caffeinated Energy Drinks: A Growing Problem, 99(1-3) DRUG
 8
 9   ALCOHOL DEPEND. 4 (2009) [hereinafter, “DRUG ALCOHOL DEPEND.]. “These

10   advertising campaigns promote the psychoactive, performance-enhancing, and stimulate

11   effects of energy drinks and appear to glorify drug use.” Id.
12                1. RED BULL’s advertising campaign slogan “Red Bull gives you wings,” is
13
                     associated with “excitement and risk-taking.” In addition, RED BULL’s
14
                     marketing permeates the action sports world. Red Bull Paper Wings and the
15
                     ‘Gives You Wings’ Slogan, http://www.businessinsider.com/red-bull-paper-
16
17                   wings-slogan-2012-10 (last visited October 12, 2017). RED BULL’s

18                   primary targets are athletes, workers and socialites. Ad Campaign for

19                   Monster Energy, https://www.slideshare.net/LucyYe1/monster-energy-
20
                     drinks-power-point (last visited October 12, 2017).
21
                  2. MONSTER’s marketing uses “product taglines like ‘Unleash the Beast,’
22
                     and its bold advertising campaigns reflect its edgy and aggressive image.”
23
                     Monster Beverage’s Bold Marketing Approach,
24
25                   http://marketrealist.com/2015/01/monster-beverages-bold-marketing-

26                   approach/ (last visited October 16, 2017). MONSTER’s “advertising and
27
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                    marketing efforts are associated with adventure sports and sports
 1
 2                  personalities.” Id. “The macho image, and the promotion of these drinks as

 3                  an immediate energy booster, made them the military’s drink of choice.”
 4                  Id. In the recent advertising campaign, MONSTER featured a famous
 5
                    boxer preparing for a match and declaring “I am the beast.” Monster Energy
 6
                    TV Commercial, 'I Am the Beast' Featuring Conor McGregor,
 7
                    https://www.ispot.tv/ad/w6tq/monster-energy-i-am-the-beast-featuring-
 8
 9                  conor-mcgregor (last visited October 13, 2017).

10          21.     In 2015, RED BULL and MONSTER dominated energy drink market with

11   respective market shares of 43% and 39%. Monster, Red Bull, Rockstar Ranked
12   http://time.com/3854658/these-are-the-top-5-energy-drinks/ (last visited October 13,
13
     2017). RED BULLS’ sales of energy drinks increased by 1.8% from 2015-2016, capping
14
     the sales at 6.06 billions of cans sold worldwide in 2016, a dramatic 50% increase in sales
15
     since 2011. Number of Red Bull Cans Sold World Wide From 2011 to 2016,
16
17   https://www.statista.com/statistics/275163/red-bulls-number-of-cans-sold-worldwide/ (last

18   visited October 13, 2017). MONSTER’s sales of energy drinks increased by 13% from

19   2015 to 2016, capping the sales at $3.5 billions in 2016, a 80% increase in sales since
20
     2011. Monster Beverage Corporation, http://investors.monsterbevcorp.com/annuals.cfm
21
     (last visiting October 17, 2017).
22
            22.     Substance Abuse and Mental Health Services Administration (SAMHSA)
23
     reported “the number of emergency department (ED) visits involving energy drinks
24
25   doubled from 10,068 visits in 2010 to 20,783 visits in 2011.” Substance Abuse and Mental

26   Health Servs. Admin., The Dawn Report: Update on Emergency Department Visits
27
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     Involving Energy Drinks: A Continuing Public Health Concern (Jan. 10, 2013). The
 1
 2   majority of these visits were people between ages of 18 to 39. Id. Approximately 44

 3   percent of non-alcoholic energy drink-related hospital visits happened when people
 4   combined alcohol and/or drugs with energy drinks. Id. The increase in ED visits is
 5
     proportionate to an increase in sales of energy drinks.
 6
            23.     Although MONSTER began to disclose the caffeine content on its cans, as a
 7
     result of a lawsuit filed against them by the parents of a 14-year-old girl who died after
 8
 9   consuming energy drinks, MONSTER believed that “the actual numbers are not

10   meaningful to most consumers.” Energy Drinks Caffeine Levels Often Stray From Labels,

11   Study Shows, https://www.huffingtonpost.com/2012/10/25/energy-drink-caffeine-labels-
12   _n_2016314.html (last visited October 17, 2017).
13
            24.     Marketed benefits of MONSTER BEVERAGES and RED BULL
14
     ENERGY are achieved through addition of caffeine. Energy drinks have no therapeutic
15
     benefit and many ingredients contained in such drinks are understudied and not regulated.
16
17   Pharmacology of contained agents combined with reports of toxicity raises concern for

18   potentially serious adverse effects associated with energy drinks consumption. Sara M.

19   Seifert, et.al., Health Effects of Energy Drinks on Children, Adolescent, and Young Adults,
20
     127[3]:511 PEDIATRICS, 2011 [hereinafter “PEDIATRICS”].
21
            25.     “Most people can safely take in about 400 milligrams of caffeine daily or
22
     about 4 cups of coffee.” This Is How Much Caffeine It Takes to Kill an Average Person,
23
     https://www.usatoday.com/story/news/nation-now/2017/05/16/south-carolina-teen-dies-
24
25   caffeine-how-much-coffee-can-kill-you/99975022/ (last visited October 11, 2017).

26   Caffeine intoxication and negative effects thereof are much more common when the daily
27
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     consumption increases to more than 500 milligrams. Id. Mr. Omelin’s daily caffeine
 1
 2   intake was approximately 800-1040mg.

 3          26.     Food and Drug Administration’s (FDA) caffeine limit per 12 fl oz of soda is
 4   71mg (approximately 6mg per 1 fl oz). DRUG ALCOHOL DEPEND. at 2. The caffeine
 5
     content in Red Bull 16oz can is 151mg (approximately 9mg per 1 fl oz ); Monster 16 oz. is
 6
     160mg (approximately 10mg per 1 fl oz), and NOS Energy’s 24oz can is 240mg
 7
     (approximately 10mg per 1 fl oz). All per oz caffeine contents in MONSTER and RED
 8
 9   BULL’s products exceed the allowed amount.

10          27.     In addition to pure caffeine, MONSTER BEVERAGES and RED BULL

11   ENERGY, contain additional amounts of caffeine through additives, such as guarana.
12   PEDIATRICS at 512. Each gram of guarana can contain 40 to 80 mg of caffeine, and has a
13
     potentially longer half-life. Id. Because the manufacturers are not required to post the
14
     amount of caffeine contained in these additives, the actual caffeine content in a single
15
     serving may exceed the listed amounts. Naren Gunja, et.al., Energy Drinks: Health Risks
16
17   and Toxicity, MED J AUST, 196 (1): 46-49, (2012).

18          28.     The health risks associated with energy drinks are primarily related to high

19   caffeine content. Studies have shown that a caffeine overdose can cause cardiovascular
20
     problems, nausea, vomiting, convulsions, and death. Breda João Joaquim, et.al., Energy
21
     Drink Consumption in Europe: A Review of the Risks, Adverse Health Effects, and Policy
22
     Options to Respond, FRONTIERS IN PUBLIC HEALTH, VOL. 2 at 2, 2014 [hereinafter
23
     “BREDA”].
24
25          29.     Since 2004, FDA reported a total of thirty-four (34) deaths that have been

26   linked to energy drinks. Eleven (11) of these deaths have been linked to Monster. These
27
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     deaths do not include other deaths that were reported in the media, such as a case of 16-
 1
 2   year-old Lanna Hamman, who died on vacation after consuming several cans of Red Bull.

 3   Documents Link More Deaths To Energy Drinks, https://cspinet.org/news/documents-link-
 4   more-deaths-energy-drinks-20140625 (last visited October 1, 2007).
 5
              30.   A combination of excessive ingestion of caffeine- and taurine- containing
 6
     energy drinks and strenuous physical activity can produce myocardial ischemia by
 7
     inducing coronary vasospasm with potentially fatal results. “Both taurine and caffeine have
 8
 9   been shown in vitro to have physiological effects on intracellular calcium concentration

10   within vascular smooth muscle, and they could conceivably induce coronary vasospasm. “

11   Adam J Berger, et. al., Cardiac Arrest in a Young Man Following Excess Consumption of
12   Caffeinated “Energy Drinks”, MJA, 190: 41 (2009) [hereinafter “BERGER”].
13
              31.    National Federation of State High School Associations recommends that
14
     energy drinks not be used prior to, during or after physical activity. Furthermore, a
15
     common ingredient in energy drinks, guarana, is mentioned in the NCAA's 2016-17
16
17   banned drugs list. What That Energy Drink Can Do To Your Body,

18   http://www.cnn.com/2017/04/26/health/energy-drinks-health-concerns-

19   explainer/index.html (last visited October 17, 2017).
20
              32.   In one of the cases, involving physical activity, a healthy 33-year-old man,
21
     Cory Terry, died after drinking a Red Bull shortly after playing basketball. Mr. Terry was
22
     an avid Red Bull drinker and had been consuming the beverage for many years. Death By
23
     Red Bull, https://www.caffeineinformer.com/death-by-red-bull (last visited October 13,
24
25   2017).

26
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            33.     A 28-year-old motocross rider had a cardiac arrest following a consumption
 1
 2   of seven to eight (7-8) cans of energy drinks within seven hours. The man denied having

 3   any previous chest pains and was otherwise fit and well. BERGER at 42.
 4          34.     Although sudden cardiac death in people under the age of forty are a result
 5
     of structural heart disease, 10-20% of autopsies showed that the subject in that “age group
 6
     had no obvious cardiac abnormalities on postmortem examination.” BERGER at 42.
 7
            35.     Studies have shown that consumption of energy drinks causes life-
 8
 9   threatening heart rhythm disorders, not found in coffee-drinkers. Mixing energy drinks

10   with alcohol significantly increases negative side effects. Dr. Campbell: New Study

11   Highlights Dangerous Effects of Energy Drinks, http://wncn.com/2017/05/07/dr-campbell-
12   new-study-highlights-dangerous-effects-of-energy-drinks/ (last visited October 12, 2017).
13
            36.     U.S. Center for Disease Control and Prevention warned against mixing
14
     energy drinks and alcohol, arguing energy drinks mask the depressant effects of alcohol.
15
     “When people mix energy drinks with alcohol, people drink more than they would if they
16
17   had just consumed alcohol, which is associated with a cascade of problems,’ says paper

18   author Cecile Marczinski, associate professor of psychology at Northern Kentucky

19   University.” Why You Might Not Want To Mix Alcohol and Energy Drinks,
20
     http://time.com/3677044/alcohol-energy-drinks/ (last visited October 17, 2017).
21
             37.    The Federal Institute for Risk Assessment reported that “energy drinks have
22
     led to adverse reactions including death in combination with alcohol and alone.” Energy
23
     Drinks Safety Questioned by German agency,
24
25   https://www.nutraingredients.com/Article/2008/06/05/Energy-drinks-safety-questioned-

26
27
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     by-German-agency (last visited October 17, 2017). In Sweden, two young people died
 1
 2   after consuming Red Bull mixed with alcohol. Id.

 3           38.     Mixing energy drinks with alcohol is a prominent practice among 71% of
 4   young adults. BREDA at 2. A study of American college students found that “those who
 5
     reported combining energy drinks with alcohol were more likely to experience adverse
 6
     consequences due to their own drinking compared to those who only drank alcohol.” Id.
 7
     Energy drink consumers were more likely to have a higher breath alcohol concentration
 8
 9   reading. Id.

10           39.     The National Poison Data System in United States recorded 4854 calls to

11   emergency departments (0.2% of total calls) related to energy drinks over the year 2010-
12   2011. 39.3% of these calls involved alcohol mixed energy drinks and led to more severe
13
     adverse effects. Id. at 3.
14
             40.     Foreign countries took steps to limit the consumption of energy drinks or to
15
     ban it altogether. PEDIATRICS at 521. For example, Argentinian Senate proposed to ban
16
17   energy drinks in nightclubs, and Finland requires a warning for drinks that contain more

18   than 150mg/L of caffeine and a statement of maximum allowable daily intake. Id. France

19   put a ban on taurine, an ingredient contained in MONSTER BEVERAGES and RED
20
     BULL ENERGY. Energy Drinks Safety Questioned by German agency,
21
     https://www.nutraingredients.com/Article/2008/06/05/Energy-drinks-safety-questioned-
22
     by-German-agency (last visited October 17, 2017). Denmark and Norway had banned or
23
     recommended banning energy drinks altogether. Id.
24
25           41.     Lack of adequate warnings as to consumption of energy drinks along with

26   alcohol or prior to, during, and after physical activity results in consumption by consumers
27
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     who are unaware of the extent to which they are damaging their health. The present
 1
 2   labeling of MONSTER BEVERAGES and RED BULL ENERGY does nothing to attempt

 3   to warn of these severe health risks.
 4             42.   At all material times pertaining hereto, MONSTER and RED BULL
 5
     manufactured, designed, and produced the MONSTER BEVERAGES and RED BULL
 6
     ENERGY, respectively, before products reached the end consumer, Mr. Omelin, and from
 7
     which he ultimately died.
 8
 9             43.   Despite well-known significant risks associated with consumption of energy

10   drinks, including MONSTER BEVERAGES and RED BULL ENERGY, Defendants

11   failed and continue to fail to alert consumers like Mr. Omelin of the significant health risks
12   associated with consumption of MONSTER BEVERAGES and RED BULL ENERGY.
13
               44.   By concentrating their marketing on potential benefits of MONSTER
14
     BEVERAGES and RED BULL ENERGY, Defendants completely failed to warn their
15
     consumers of the known risks and side effects of consuming their products, including the
16
17   risks associated with mixing energy drinks with alcohol, consumption prior to, during, and

18   after physical activities, and other severe health issues related to consumption of energy

19   drinks.
20
               45.   Beyond its failure to warn of or disclose to consumers information related
21
     to significant health risks associated with consuming their products, Defendants
22
     intentionally withheld, suppressed, and concealed from consumers information relating to
23
     the risks of adverse health effects upon consumption of MONSTER BEVERAGES and
24
25   RED BULL ENERGY.

26
27
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            46.     Defendants failed to conduct adequate testing, studies or clinical testing and
 1
 2   research, and similarly failed to conduct adequate marketing surveillance regarding the

 3   adverse effects associated with consumption of their product.
 4          47.     Despite Defendants’ representation to the contrary, MONSTER
 5
     BEVERAGES and RED BULL ENERGY consumed by Mr. Omelin were not safe or fit
 6
     for the use for which they were intended.
 7
            48.     Had the Defendants properly warned of and disclosed the significant risks
 8
 9   associated with MONSTER BEVERAGES and RED BULL ENERGY, including the risks

10   associated with mixing energy drinks with alcohol, physical activities, and other severe

11   health issues related to consumption of energy drinks, Mr. Omelin would not have
12   purchased and consumed MONSTER BEVERAGES and RED BULL ENERGY, or used
13
     them with caution.
14
            49.     Defendants’ failures in designing, manufacturing, marketing, distributing,
15
     warning and/or selling MONSTER BEVERAGES and RED BULL directly and
16
17   proximately caused Mr. Omelin’s death on October 30, 2014.

18    IV. SURVIVAL ACTION CAUSES OF ACTION AGAINST ALL DEFENDANTS

19                                       First Cause of Action
                                    Strict Liability – Design Defect
20
                                (By Plaintiff Against All Defendants)
21          50.     Plaintiff re-alleges each and every allegation contained in this Complaint

22   with the same force and effect as if fully set forth herein.
23          51.     At all material times pertaining hereto, Defendants, MONSTER and RED
24
     BULL manufactured, designed, and produced the MONSTER BEVERAGES and RED
25
     BULL ENERGY, respectively, before products reached the end consumer, Mr. Omelin.
26
27
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            52.     Defendants, MONSTER and RED BULL, placed their respective products,
 1
 2   MONSTER BEVERAGES and RED BULL ENERGY, in the stream of commerce, with

 3   expectation that it would reach an end consumer, such as Mr. Omelin, without substantial
 4   change in its condition. MONSTER BEVERAGES and RED BULL ENERGY, did reach
 5
     Mr. Omelin. The subsequent consumption of the above-named products caused Mr.
 6
     Omelin to vomit, lose consciousness, and his subsequent death.
 7
            53.     Mr. Omelin consumed the above-named products in a way contemplated by
 8
 9   the Defendants, namely, by ingesting the products orally, causing his death.

10          54.     MONSTER BEVERAGES and RED BULL ENERGY consumed by Mr.

11   Omelin, and that caused his death, did not perform as safely as an ordinary consumer
12   would have expected them to perform when used or misused in an intended or reasonably
13
     foreseeable way.
14
            55.     At the time MONSTER BEVERAGES and RED BULL ENERGY,
15
     consumed by Mr. Omelin, left the Defendants’ control, they were in a condition not
16
17   contemplated by Mr. Omelin and was unreasonably dangerous and defective. At the time

18   of Mr. Omelin’s death and to this day, the above-mentioned products are dangerous to an

19   extent beyond that which would be contemplated by the ordinary consumer in his or her
20
     position.
21
            56.     Risks associated with consumption of MONSTER BEVERAGES AND
22
     RED BULL ENERGY outweigh any claimed or perceived benefit. There are, and there has
23
     been, other practicable, feasible and safer alternatives to achieve energy and increase
24
25   awareness and productivity that do not present the severe and lethal health risks associated

26   with MONSTER BEVERAGES and RED BULL ENERGY.
27
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            57.     The failure of MONSTER BEVERAGES and RED BULL ENERGY to
 1
 2   perform safely was a substantial factor in causing Mr. Omelin’s death.

 3          58.     As a direct and proximate result of MONSTER and RED BULL’s design,
 4   manufacture, marketing, and/or sale of their products, Plaintiff and Mr. Omelin, suffered
 5
     injuries and incurred damages herein described.
 6
                                        Second Cause of Action
 7                                 Strict Liability – Failure to Warn
                                (By Plaintiffs Against All Defendants)
 8          59.     Plaintiff re-alleges each and every allegation contained in this Complaint
 9
     with the same force and effect as if fully set forth herein.
10
            60.     At all material times pertaining hereto, Defendants, MONSTER and RED
11
     BULL manufactured, designed, and produced MONSTER BEVERAGES and RED BULL
12
13   ENERGY, respectively, before products reached the end consumer, Mr. Omelin.

14          61.     Defendants, MONSTER and RED BULL, placed their products,

15   MONSTER BEVERAGES and RED BULL ENERGY, respectively, in the stream of
16
     commerce, with expectation that it would reach an end consumer, such as Mr. Omelin,
17
     without substantial change in its condition. MONSTER BEVERAGES and RED BULL
18
     ENERGY, did reach Mr. Omelin and caused his death.
19
            62.     At all times, at and after the time of design, manufacture, marketing,
20
21   distribution and/or sale of the product(s) consumed by Mr. Omelin, MONSTER and RED

22   BULL knew or should have known that their products had potential risks and side effects.
23   Such scientific knowledge was readily available to MONSTER and RED BULL.
24
     Defendants knew or should have known of the defective condition, characteristics, and
25
     risks associated with their products, as previously set forth herein.
26
            63.     The potential risks and side effects associated with the MONSTER
27
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     BEVERAGES and RED BULL ENERGY presented, and continues to present, a
 1
 2   substantial hazard when used or misused in an intended and reasonably foreseeable way

 3   (i.e. oral consumption).
 4          64.      The potential risks and side effects associated with consumption of
 5
     MONSTER BEVERAGES and RED BULL ENERGY, were not recognizable by ordinary
 6
     consumers, such as Mr. Omelin.
 7
            65.      When placing their respective products, MONSTER BEVERAGES and
 8
 9   RED BULL ENERGY into the stream of commerce, MONSTER and RED BULL failed to

10   provide adequate warnings as to the risks associated with their respective products.

11   MONSTER and RED BULL failed to properly warn consumers of the true risks and
12   dangers, and of all symptoms, scope and severity of the potential side effects of
13
     MONSTER BEVERAGES and RED BULL ENERGY, respectively, that Mr. Omelin
14
     ingested, such as incomparability with alcoholic beverages and consumption prior to,
15
     during, and after physical activity.
16
17          66.      MONSTER and RED BULL failed to adequately warn and instruct of the

18   potential risks and side effects associated with their products’ consumption by:

19                a) Providing insufficient warnings to alert Mr. Omelin and other consumers of
20
                     the significant risk, scope, duration and severity of adverse effects and/or
21
                     reactions associated with MONSTER BEVERAGES and RED BULL
22
                     ENERGY, subjecting Mr. Omelin to risks that by far exceeded the implied
23
                     benefits of MONSTER BEVERAGES and RED BULL ENERGY; and
24
25                b) Misleading consumers, and Mr. Omelin, through deceptive marketing

26                   materials emphasizing the efficacy of the drinks while downplaying the
27
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                    risks associated with products, thereby making the use of MONSTER
 1
 2                  BEVERAGES and RED BULL ENERGY more dangerous than any

 3                  consumer, and Mr. Omelin, would reasonably expect.
 4          67.     The lack of sufficient warnings or instructions was a substantial factor in
 5
     causing Mr. Omelin’s death.
 6
            68.     As a direct and proximate result of MONSTER and RED BULL’s failure to
 7
     provide adequate warnings in connection with its design, manufacture, marketing, and/or
 8
 9   sale of MONSTER BEVERAGES and RED BULL drinks, Plaintiff and Mr. Omelin,

10   suffered injuries and incurred damages herein described.

11                                      Third Cause of Action
                            Negligence – Design, Manufacture and Sale
12                              (By Plaintiffs Against All Defendants)
13          69.     Plaintiff re-alleges each and every allegation contained in this Complaint

14   with the same force and effect as if fully set forth herein.

15          70.     MONSTER and RED BULL owed a duty to Mr. Omelin and all consumers
16
     of their products to exercise a reasonable care in the design, formulation, testing,
17
     manufacturing, labeling, marketing, distribution, promotion and/or sale of MONSTER
18
     BEVERAGES and RED BULL ENERGY, respectively. Under this duty, Defendants were
19
     required to ensure that their products did not pose an unreasonable risk of bodily harm to
20
21   Mr. Omelin and all other consumers, and to warn of side effects, risks, dangers and

22   potential for serious bodily harm associated with consumption of MONSTER
23   BEVERAGES and RED BULL ENERGY.
24
            71.     MONSTER and RED BULL failed to exercise reasonable care in the
25
     design, formulation, testing, manufacturing, labeling, marketing, distribution, promotion
26
     and/or sale of MONSTER BEVERAGES and RED BULL ENERGY while they knew or
27
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     should have known that their products could cause significant bodily harm and were not
 1
 2   safe for intended use by consumers, like Mr. Omelin.

 3          72.       MONSTER and RED BULL were negligent in the design, formulation,
 4   testing, manufacturing, labeling, marketing, distribution, promotion, and/or sale of
 5
     MONSTER BEVERAGES and RED BULL ENERGY and breached their duties to the
 6
     Plaintiff and Mr. Omelin. Specifically, MONSTER and RED BULL:
 7
                  a) Failed to use due care in the preparation and design of their products to
 8
 9                    prevent the risk associated with their consumption;

10                b) Failed to conduct adequate testing of their products to prevent the risks

11                    associated with their consumption;
12                c) Failed to cease manufacturing or otherwise alter the composition of their
13
                      products to produce a safer alternative despite the fact that they knew or
14
                      should have known that original composition posed a serious risk of bodily
15
                      harm to consumers;
16
17                d) Failed to conduct post-marketing surveillance to determine the safety of

18                    their products;

19                e) Failed to exercise reasonable care with respect to post-sale warnings and
20
                      instructions for safe use by consumers; and
21
                  f) Were otherwise careless and negligent.
22
            73.       At all relevant times, it was foreseeable to MONSTER and RED BULL that
23
     consumers, like Mr. Omelin, would suffer injury as a result of their failure to exercise
24
25   ordinary care.

26
27
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            74.     As a direct and proximate result of MONSTER and RED BULL’s
 1
 2   negligence in design, manufacture, and sale of their products, Plaintiff and Mr. Omelin,

 3   suffered injuries and incurred damages herein described.
 4                                      Fourth Cause of Action
 5                                   Negligence – Failure to Warn
                                (By Plaintiffs Against All Defendants)
 6          75.     Plaintiff re-alleges each and every allegation contained in this Complaint

 7   with the same force and effect as if fully set forth herein.
 8          76.     Prior to, on, and after the date of Mr. Omelin’s consumption of MONSTER
 9
     BEVERAGES and RED BULL ENERGY, MONSTER and RED BULL engaged in the
10
     design, formulation, testing, manufacturing, labeling, marketing, distribution, promotion,
11
     advertising, and/or sale of MONSTER BEVERAGES and RED BULL ENERGY, which
12
13   were intended for consumption by consumers like Mr. Omelin.

14          77.     Prior to, on, and after the date of Mr. Omelin’s consumption of MONSTER

15   BEVERAGES and RED BULL ENERGY, MONSTER and RED BULL knew or should
16
     have known that their respective products were dangerous or were likely to be dangerous
17
     when used in a reasonably foreseeable manner. The risks included, but were not limited to,
18
     increased chance for cardiovascular problems, nausea, vomiting, convulsions, and death.
19
            78.     Prior to, on, and after the date of Mr. Omelin’s consumption of MONSTER
20
21   BEVERAGES and RED BULL ENERGY, MONSTER and RED BULL knew or should

22   have known that consumers of MONSTER BEVERAGES and RED BULL ENERGY,
23   including Mr. Omelin, would not realize the dangers presented by the product.
24
            79.     Prior to, on, and after the date of Mr. Omelin’s consumption of MONSTER
25
     BEVERAGES and RED BULL ENERGY, MONSTER and RED BULL failed to
26
     adequately warn of the dangers associated with consumption of their products and/or failed
27
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     to adequately instruct consumers on the safe use of the product. Such failures included, but
 1
 2   where not limited to:

 3                a) Failing to issue adequate warnings to consumers concerning the risks of
 4                   serious bodily harm associated with the consumption of their products;
 5
                  b) Failing to supply adequate warnings regarding all potential adverse health
 6
                     effects associated with the use of their products and the comparative
 7
                     severity of these side effects;
 8
 9                c) Failing to provide adequate warnings to caution and/or restrict the

10                   use/mixing/ingestion of their products with alcohol; and

11                d) Failing to provide adequate warnings to caution and/or restrict the use of
12                   their products prior to, during, and after physical activity.
13
            80.      At all times prior to, on, and after the date of Mr. Omelin’s death, it was
14
     foreseeable to MONSTER and RED BULL that consumers, including Mr. Omelin, might
15
     suffer injury as a result of their failure to exercise ordinary care in providing adequate
16
17   warnings concerning the dangers associated with consumption of MONSTER

18   BEVERAGES and RED BULL ENERGY.

19          81.      As a direct and proximate result of MONSTER and RED BULL’s negligent
20
     failure to warn of existing risks associated with their products, Plaintiff and Mr. Omelin,
21
     suffered injuries and incurred damages herein described.
22
                                        Fifth Cause of Action
23              Fraud – Concealment, Suppression or Omission of Material Facts
                               (By Plaintiffs Against All Defendants)
24
            82.    Plaintiff re-alleges each and every allegation contained in this Complaint
25
     with the same force and effect as if fully set forth herein.
26
27
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            83.     MONSTER and RED BULL withheld and suppressed facts in their
 1
 2   advertising, labeling, packaging, marketing and promotion of MONSTER BEVERAGES

 3   and RED BULL ENERGY, respectively, that led consumers, and Mr. Omelin, to falsely
 4   believe that the products posed no greater risk to the health of its consumers than did
 5
     natural supplements containing similar ingredients.
 6
            84.     Due to the potential risks associated with consumption of MONSTER
 7
     BEVERAGES and RED BULL ENERGY, MONSTER and RED BULL owed a duty to
 8
 9   disclose the truth about the significant adverse health risks associated with the

10   consumption of their respective products, but failed to do so.

11          85.     MONSTER and RED BULL knew of potential health risks associated with
12   consumption of MONSTER BEVERAGES and RED BULL ENERGY, respectively,
13
     which were caused by high amount of caffeine and caffeine’s interaction with other active
14
     ingredients and alcohol, yet both, MONSTER and RED BULL took steps in advertising,
15
     labeling, packaging, marketing and promotion of MONSTER BEVERAGES and RED
16
17   BULL ENERGY to conceal such facts to prevent consumers from learning about the risks

18   arising out of consumption of their respective products.

19          86.     The concealment of the risks associated with advertising, labeling,
20
     packaging, marketing and promotion of MONSTER BEVERAGES and RED BULL
21
     ENERGY was done with the intent to induce consumers, and Mr. Omelin, to purchase and
22
     consume MONSTER and RED BULL’s products. MONSTER and RED BULL intended
23
     for their consumers, and Mr. Omelin, to rely on advertising, labeling, packaging,
24
25   marketing and promotion of MONSTER BEVERAGES and RED BULL ENERGY, as

26   well as their suppression of the true facts about the risks and dangers associated with
27
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     consumption of their products.
 1
 2           87.     The reliance by Mr. Omelin on the safety of MONSTER BEVERAGES and

 3   RED BULL ENERGY was justified and reasonable in that MONSTER and RED BULL
 4   appeared to be, and represented themselves to be, reputable companies that would not fail
 5
     to disclose the truth about any potential harmful health effects of consuming their products.
 6
             88.     As a direct and proximate result of MONSTER and RED BULL’s fraud and
 7
     deceit Plaintiff and Mr. Omelin, suffered injuries and incurred damages herein described.
 8
 9                                        Sixth Cause of Action
                                      Breach of Implied Warranties
10                               (By Plaintiffs Against All Defendants)
             89.     Plaintiff re-alleges each and every allegation contained in this Complaint
11
     with the same force and effect as if fully set forth herein.
12
13           90.     Prior to and on the day of his death on October 30, 2014, Mr. Omelin

14   purchased and consumed regularly MONSTER BEVERAGES and RED BULL ENERGY

15   for at least four (4) years.
16
             91.     Within 24 hours prior to his death, Mr. Omelin consumed at least four (4)
17
     16-oz cans of MONSTER BEVERAGES and RED BULL ENERGY, manufactured by
18
     MONSTER and RED BULL, respectively, causing his death in the early morning hours of
19
     October 30, 2014.
20
21           92.     At all times prior to and at the time of Mr. Omelin’s death, MONSTER and

22   RED BULL were in the business of selling MONSTER BEVERAGES and RED BULL
23   ENERGY, respectfully.
24
             93.     Energy drinks consumed by Mr. Omelin prior to his death were harmful at
25
     the time of consumption.
26
             94.     The harmful conditions of MONSTER BEVERAGES and RED BULL
27
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     ENERGY, which ultimately lead to Mr. Omelin’s death, could not reasonably been
 1
 2   expected by an average consumer.

 3          95.     The harmful conditions of MONSTER BEVERAGES and RED BULL
 4   ENERGY were a substantial factor in bringing about conditions that ultimately caused Mr.
 5
     Omelin’s death.
 6
            96.     Prior to Mr. Omelin’s consumption of MONSTER BEVERAGES and RED
 7
     BULL ENERGY, MONSTER and RED BULL warranted to Mr. Omelin and other
 8
 9   similarly situated consumers that their products were of merchantable quality and safe and

10   fit for the use for which it was intended, i.e. to promote stamina and energy.

11          97.      Mr. Omelin relied entirely on the expertise, knowledge, skill, judgment,
12   and implied warranty of MONSTER and RED BULL in choosing to consume MONSTER
13
     BEVERAGES and RED BULL ENERGY.
14
            98.     MONSTER BEVERAGES and RED BULL ENERGY consumed by Mr.
15
     Omelin were neither safe for their intended use, nor of merchantable quality, in that they
16
17   possessed a dangerous mixture of ingredients that, when put to its intended use, caused

18   severe and fatal injuries to Mr. Omelin.

19          99.     By selling, delivering and/or distributing defective products to Mr. Omelin,
20
     MONSTER and RED BULL breached its implied warranty of merchantability and the
21
     implied warranty of fitness.
22
            100.    As a direct and proximate result of MONSTER and RED BULL’s breach of
23
     the implied warranty of merchantability and the implied warranty of fitness, Plaintiff and
24
25   Mr. Omelin, suffered injuries and incurred damages herein described.

26                         V. PUNITIVE DAMAGES ALLEGATIONS
                               (By Plaintiff Against All Defendants)
27
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            101.    Plaintiff re-alleges each and every allegation contained in this Complaint
 1
 2   with the same force and effect as if fully set forth herein.

 3          102.    At all pertinent times, MONSTER and RED BULL knew that their products
 4   contained dangerous levels of caffeine and other ingredients, and knew the serious health
 5
     risks to consumers associated with consumption of their products.
 6
            103.    With such knowledge and in furtherance of their own financial interests,
 7
     MONSTER and RED BULL willfully, wantonly and maliciously engaged in the design,
 8
 9   manufacture, production, testing, study, inspection, mixture, labeling, marketing,

10   advertising, sales, promotion, and/or distribution of MONSTER BEVERAGES and RED

11   BULL ENERGY while simultaneously failing to warn potential consumers of its
12   dangerous propensities.
13
            104.    With such knowledge and in furtherance of their own financial interests,
14
     MONSTER and RED BULL willfully, wantonly and maliciously, and with conscious
15
     disregard for, and indifference to, the health and safety of consumers, including Mr.
16
17   Omelin, failed and refused to supply adequate warnings and/or information to protect

18   consumers and/or otherwise reduce and eliminate the health risks to consumers associated

19   with the consumption of MONSTER BEVERAGES and RED BULL ENERGY.
20
            105.    As a direct and proximate result of MONSTER and RED BULL’s conduct,
21
     and because their acts and omissions were willful, wanton, malicious, intended and in
22
     conscious disregard for, and indifference to, the health and safety of potential consumers,
23
     like Mr. Omelin, an award of exemplary or punitive damages is appropriate and necessary
24
25   to punish MONSTER and RED BULL, and to deter them from engaging in such

26   misconduct in the future and to affect significant change in the way MONSTER and RED
27
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     BULL design, manufacture, market, promote, warn about, distribute and/or sell their
 1
 2   products.

 3                       VI. WRONGFUL DEATH CAUSE OF ACTION
                                       Seventh Cause of Action
 4                                          Wrongful Death
 5                              (By Plaintiff Against All Defendants)
            106.    Plaintiff re-alleges each and every allegation contained in this Complaint
 6
     with the same force and effect as if fully set forth herein.
 7
            107.    Anna Omelin and all other surviving distributees of and successors in
 8
 9   interest to Mr. Omelin do hereby bring any and all Wrongful Death causes of action

10   pursuant to Revised Code of Washington § 4.20.

11          108.    Defendants’ wrongful actions described herein, and the defects in
12   MONSTER BEVERAGES and RED BULL ENERGY product design, manufacture,
13
     marketing, distribution and/or sale caused the death of Plaintiff’s husband, Mr. Omelin. As
14
     a direct and proximate result of the strict liability, negligence, fraud, and breach of
15
     warranty described above, Mr. Omelin purchased and consumed MONSTER
16
17   BEVERAGES and RED BULL ENERGY, which ultimately resulted in his death.

18          109.    As a result of Mr. Omelin’s death, his wife, the Plaintiff, was deprived of

19   the love, companionship, comfort, affection, support, and society of Mr. Omelin.
20
            110.    As a result of Mr. Omelin’s death, his two children and a stepchild were
21
     deprived of the love, companionship, comfort, affection, support, and society of Mr.
22
     Omelin.
23
            111.    Plaintiff is entitled to recover economic and non-economic damages against
24
25   MONSTER and RED BULL for the wrongful death proximately caused by Mr. Omelin’s

26   consumption of MONSTER BEVERAGES and RED BULL ENERGY and directly
27
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     attributable to MONSTER and RED BULL’s failures as described herein.
 1
 2                                          VII. JURY DEMAND

 3          112. Plaintiff requests a 12-person jury to hear this matter.
 4                         VIII. PRAYER FOR RELIEF AS TO ALL CLAIMS
 5
            WHEREFORE, Plaintiff requests that the Court enter judgment against Defendants,
 6
     jointly and severally, including:
 7
            1. General damages for the physical pain and suffering, mental and emotional
 8
 9   distress, anguish, anxiety, impairment of earning capacity, loss of services, including loss

10   of love, affection, care, companionship, society and consortium, loss of enjoyment of life

11   and all such other damages as are just and recoverable as general damages for the death of
12   Mr. Omelin;
13
            2. Special damages in an amount to be proven at the time of trial for for destroyed
14
     earning capacity of Mr. Omelin occasioned by his death and loss of lifetime earnings, and
15
     all other such recoverable special damages as are just arising from the injuries to each of
16
17   Anna Omelin, A.S, a minor, A.O., a minor, and A.O., a minor;

18          3. Special damages in an amount to be proven at the time of trial for net economic

19   loss to the Estate of Mr. Omelin and/or loss of support of all beneficiaries of the Estate of
20
     Mr. Omelin occasioned by the wrongful death of Mr. Omelin;
21
            4. General damages for the pain and suffering occasioning by the death of Mr.
22
     Omelin, including his knowledge and awareness of impending doom;
23
            5. As to the Fifth Cause of Action against all Defendants, Plaintiff as surviving
24
25   spouse and successor in interest to Mr. Omelin, prays for punitive or exemplary damages

26   in an amount to be determined at trial;
27
                                                 COSMOPOLITAN LEGAL, PLLC
     COMPLAINT FOR DAMAGES-        27            151 108th Ave NE, Unit 210
     Case No. 3:17-cv-05837                      Bellevue, WA 98004
                                                 Phone: (425)296-8868 | Fax: (877)230-2429
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            6. Funeral and burial expenses relating to Mr. Omelin;
 1
 2          7. All other general and special damages recoverable under Washington state law

 3   or any other applicable law;
 4          8. Pre and post-judgment interest;
 5
            9. Costs, including reasonable attorney fees as allowed by law; and
 6
            10. Such other further relief that the Court may deem just and equitable.
 7
 8
 9
                                         Respectfully submitted this on 18th day of October, 2017.
10
                                                        By: s/Olga Efimova
11                                                      Olga Efimova, WSBA #52498
                                                        Cosmopolitan Legal, PLLC
12                                                      151 108th Ave NE, Unit 210
13                                                      Bellevue, WA 98004
                                                        Telephone: (425) 296-8868
14                                                      Fax: (877) 230-2429
                                                        E-mail: olgae@cosmopolitanlegal.com
15                                                      Attorney for Plaintiff Anna Omelin
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